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Throughout this project, the TMG team has been impressed and appreciative of the level of support
and demonstrated willingness by the DC DOC to enhance the operations of its Inmate Records
Office to ensure the timely release of inmates.

Further, TMG wishes to acknowledge the support shown to the DC DOC by its local agency
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Superior Court, Bureau of Prisons, the United States Parole Commission, and more. The TMG team
was met with professionalism and an expressed desire for collaboration and improved systems for
the processes involved with the detention and release of inmates housed within DC DOC.


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Project Purpose and Background
Following the erroneous release of an inmate in April 2018, the DC Department of Corrections
(DOC) decided to hire an independent consultant to assess and provide recommendations to
improve the Inmate Records Office (IRO) operations and procedures. The DOC contracted with The
Moss Group, Inc. (TMG), a criminal justice consulting firm, to conduct the comprehensive analysis of
DOC documentation and processing related to inmate release, coordination with agencies and
release authorities, and the IRO. Though this contract, TMG sought to identify root causes of over
detention and early releases and provide recommendations to improve detention and release
process fidelity and to prevent future errors.

Influencing Factors

Volume
The DOC operates two correctional facilities—Central Detention Facility (CDF) and Correctional
Treatment Facility (CTF)—and the Central Cell Block. The CDF and CTF house approximately 2,100
inmates daily. Each year, the DOC processes approximately 12,000 intakes and 12,000 releases,
with a median length of stay of 25 days for males and 11 days for females. Approximately 2,500
federal inmates are incarcerated and removed from DOC’s custody annually. DOC’s IRO staff
processes over 50,000 transactions annually. These transactions include over 150 distinct
transaction types, such as commitment documents, release documents, jail credits, good time
credits, designation documents, sentencing documents, court orders, writs, holds, USMS movement
orders, and Parole Notice of Action Forms.

Complexity
The DOC operates in a unique and complex criminal justice system that is partially federal and
partially local, which requires coordination with multiple federal, state, district, and county
agencies. This hybrid system is unlike any other criminal justice system in the country. DC criminal
cases are processed through either the District of Columbia Superior Court (DCSC) or the United
States District Court (USDC). DCSC is responsible for processing persons arrested for DC code
offenses or misdemeanor United States Code offenses. USDC processes all felony US code offenses
and a selection of misdemeanor offenses.

Ensuring inmates are released in a timely manner goes to the core of DOC’s mission – ensuring
public safety for the citizens of the District of Columbia. An early release from prison can put the
community at risk while a late release deprives an inmate of their liberty. The transactions affecting
release are complex and may require coordination with multiple agencies within a few hours of
receipt of a release order.

Litigation
The DOC has faced and settled two class action lawsuits regarding the over-detention and resulting
strip searches of inmates. In 2006, the District of Columbia reached a $12 million settlement
agreement in Bynum v. District of Columbia (Civil Action No. 02-956 (RCL)). Included in this $12
million settlement was a $3 million reversion specifically earmarked for the construction of an
Inmate Reception Center designed to improve DOC’s intake and release processing which opened in
September 2014. The settlement agreement implemented provisions designed to remedy over-
detention and related strip search issues at DOC. In the second related class action case, Barnes v.
District of Columbia (Civil Action No. 06-315 (RCL)), DC settled the portion covering the period
2005-2007 for $6 million and litigated part of the case and prevailed on the portion covering 2008-
2011.
Methodology
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The DOC and TMG contracted on May 30, 2018. TMG assembled a project team with subject matter
experts (See Appendix C: TMG Team Biographies) to assess best practices in ensuring timely and
error-free detention and releases, identify root causes of over detention and early releases, and
provide recommendations to improve detention and release process fidelity and to prevent future
errors. To complete this work the team collaborated with DC DOC to carry out the following tasks:

   •   A document request list (See Appendix B: DC DOC Document Request List) was provided to
       DOC for documents related to inmate releases, such as policy, manuals, release procedures,
       quality assurance protocols, release discrepancy reports, overall statistics, and erroneous or
       delayed release case file information. Throughout the project, DOC continued to provide
       documentation and reports related to ongoing untimely release cases.
   •   Interviews and observations with DC DOC staff, such as DOC leadership, IRO staff and
       leadership, receiving and discharge staff, housing unit supervision staff, general counsel,
       inmate court transportation unit staff, case managers, and the grievance officer.
   •   Interviews and meetings with stakeholder agencies, including USDC, DCSC, Federal Bureau
       of Prisons, USMS, United States Parole Commission, United States Attorney’s Office, and
       Public Defender Services.
   •   Thorough review of IRO untimely release case files to evaluate current practices and
       identify contributing factors and causes for errors.
   •   An onsite comparative analysis with three jurisdictions to benchmark practices in detention
       and release processing.
   •   Thorough review and recommended revisions to finalize the Technical Resource Manual.

Information gathered through the above tasks has been synthesized into this report and organized
in the following way:

   •   Applicable recommendations with content for the DC DOC IRO and for its work with local
       agency stakeholders.
   •   Synopsis of the IRO and its local departmental processes and programs.
   •   Summary of the review of untimely and erroneous release cases from DC DOC over the past
       36 months.
   •   A comprehensive understanding of the partner agencies in which DC DOC collaborates with
       for inmate detention and release practices.
   •   Comparative analysis summary of release procedures from three local jurisdictions of
       comparable volume and complexity to DC DOC.




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Of the 33 IRO staff members, 26 of them have more than eight years of experience in the office.

An LIE is stationed at DCSC and can receive, review,
                                                             . The DOC has implemented a
Courthouse Release program at DCSC for some misdemeanor offenders. From a quality assurance
perspective, there has been an emphasis on formalizing procedures, conducting “mini-trainings,”
and collecting data. The development and implementation of the
appears to have had the most positive impact on the operations of the IRO. Staff have thought
deeply about continued process improvement for the IRO and finding sustainable solutions to the
paperwork process problems.

System Usage and Release Procedures
To process an inmate for release, a LIE will complete the procedures outlined below in Figure 2.



   Checklist Print                                                                  Print the
                            Scan into                   Pull the paper file
        the release
        order




     Check                    Check
   Status match, open        Open cases, release       Check                       Check
     cases, bonds, or        documents, WALES,
        detainers                and NCIC




   Check                    Check
   Open cases, writs,                                   Complete Release
                                         , open        Clearance
  detainers, remands,          cases, writs, or
    fugitive waiver              detainers
                                                                       Figure 2

This is a laborious and circuitous process that also requires printing and placing documents in the
institutional record and going in and out of several different systems.
                                                       , PDF scanner,


                                                                                  noted in
Recommendation #4 will greatly improve this process.

Phone Verification Process
In addition to the checklist, IRO supervisory staff are required to
                                    on every release. The inmate cannot be released until the IRO
staff have made contact with                                     When implemented, this phone call
verification was to be done on a trial basis.
                                                      They confirm that the IRO staff have done the
items on the checklist.



                                                                     The trial checklist requirement
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of three signatures and the phone calls required for all releases reveals that the additional review
has significantly slowed down the processing time for releases without significant added benefit.
The DOC Inmate Processing and Release Amendment Act of 2012 requires that an inmate ordered
release pursuant to a court order, the inmate shall be released within five hours of transfer from the
custody of the Unites States Marshals Service into the custody of the Department of Corrections.

Legal Support for the IRO
Currently, DOC’s Office of General Counsel has two attorneys, including the General Counsel. Staff
in the IRO contact the General Counsel for legal advice on a myriad of issues that arise on a regular
basis in the IRO, to include interpreting court orders, applying good conduct time credits, untimely
releases, etc. While the General Counsel is very capable of providing the advice and counsel to the
IRO, she has so many other demands on her time, she would not be able to devote a significant
portion of her time to the IRO. In moving forward with changes in the IRO, the agency would be
well served by adding an additional attorney in the Office of General Counsel who can legally assist
the IRO with the transition and beyond. Having an additional attorney available to assist the
General Counsel in providing legal advice and legal sufficiency reviews on the agency’s drafting of
policy and manuals, developing and delivering training curriculum, developing quality assurance
procedures, responding to inquiries and assisting counsel with the defense of litigation in this arena
would greatly assist the IRO and mitigate risk for the DOC.

Quality Assurance Process in the IRO
The DOC IRO has contracted with a Quality Assurance Auditor (QAA) who has extensive experience
working in both the public and private sector providing services, such as performance
improvement, business process reengineering, lean six sigma, business and technology
requirements, evaluation, and solution selection and project and issue management. The QAA’s
tenure with the DOC covers three different contracting periods beginning in September 2002 until
present. The QAA began working in the IRO in April 2012. Among the accomplishments the QAA
noted that appear to have had the most positive impact of the operation of the IRO include the
following:

   •   Implemented a              distribution                                  inmate
       transactions.
   •   Designed and implemented a                                       to capture, control,
       manage, and monitor workflow transactions.
   •   Clarified and documented IRO requirements for a new Offender Management System with
       integrated content management capabilities.

The following corrective action identified and implemented since January 2015, includes new tools
and expanded processes, such as the release processing checklist, drafting the TRM, expansion of
         , increased accountabilities for data quality, and ongoing validation of the USMS weekly
roster. The QAA notes there are several improvements recommended, such as reliable and
integrated systems, reduced reliance on paper-based processing, and increased automation for less
reliance on manual processing.

The Quality Assurance audits describe the spot check audits and monthly random audits. The spot
check audits are done to identify errors that have recently occurred, so staff can be alerted to
processing problems and improvements can be made to the U-Validate Inmate Data report to
reduce the risk of continued errors of this type. The results from these audits were encouraging.
There were significantly fewer “failure to validate” errors due to dramatically increased
management attention and improved tools (U-Validate Inmate Data).

The monthly audits are done to verify all the data contained in the institutional record (paper-
based and electronic) is properly captured, coded, and filed in accordance with the established
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procedures. There were numerous processing problems observed during the monthly audits to
include numerous “failure to validate” errors; missing information from both the paper-based and
           electronic images and notifications and other correspondence are frequently not scanned
in            and are sometimes missing the paper-based record. Overall, the audits demonstrated
significant improvements in data quality and standardization, although additional improvements
are needed. There needs to be a continued focus on timely processing particularly for transactions
that require additional signature verification.

District of Columbia Superior Court – Courthouse Release Program

On July 7, 2008, the Superior Court of the District of Columbia (DCSC) began the Courthouse
Release Pilot pursuant to Administrative Order No. 08-09. The Superior Court, in conjunction with
the DCSC USMS, collaborate with the DOC to facilitate its operation of the pilot project to release
eligible defendants directly from the courthouse. Defendants in all misdemeanor and traffic
courtrooms were eligible to participate in the pilot program. The Courthouse Release Program has
been operating since 2008 and the number of eligible defendants has expanded over the past ten
years. The courthouse release program operates Monday – Friday and all applicable paperwork
must be delivered by 3:30 p.m. to the main cellblock.

DOC has final authority as to whether a defendant is cleared for release at the courthouse. The IRO
has had the same staff member, a Lead Legal Instruments Examiner(LLIE), assigned to Superior
Court since the inception of the Courthouse Release Program. The LLIE is stationed with USMS staff
in the main cellblock.

The USMS delivers all legal documents transported from the court rooms. The LLIE reviews all of
the documents to ensure they are signed and dated. If there is a problem with any of the documents,
the LLIE will contact the Quality Assurance clerk to have the paperwork fixed. All Court Ordered
Releases (COR) are prioritized for immediate processing. The remaining documents are reviewed
for short sentences—less than 180 days—and prioritized for processing. Once the paperwork is
verified, the LLIE conducts the procedures as outlined below and highlighted in Figure 3.

   1. The LLIE scans the order, creates
      a PDF, and files it
                                for
      access and subsequent
      processing.
   2. The LLIE then creates the
      appropriate transaction in the


      IRO staff at the CDF.
   3. Signs into                      to
      check                    . A
      search is done


                                                                                            Figure 3
       Next, the LLIE checks         for detainers, verifies releases, and

   5. Checks                                       to check for open cases.
   6. IRO staff at CDF                                will process the release.


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    7. Once the LIE processes the case, one other LIE will review it and a supervisor will sign off
       on the release. In total, a COR from Superior Court has four IRO staff members who review
       the case.

While observing the LLIE perform these tasks, there were times when the computer was buffering
and, on one occasion, needed to shut down and reboot. This adds unnecessary time to a time-
sensitive process. Since the LLIE does not have access to the inmate’s paper file, the review of the
case doesn’t count as one of the three reviews required. The LLIE does not fill out a checklist.

The LLIE periodically checks            system to see whether any of the COR cases have been
cleared for release. In order for an eligible defendant to be directly released from the courthouse,
the LLIE must receive the authorization by 5:00 p.m. When asked whether it has taken longer to
receive clearance to release inmates in the past few months, the LLIE noted it has taken longer in
the past couple of months and a number of inmates have had to be returned to the jail for release
there. If the authorization is not received in time, the inmate is returned to the IRC to be released.
In these cases, the Court Transportation Unit staff member has already gone back to the jail to
retrieve the inmate’s property and medication. The CTU will need to return the property and
medication to the IRC along with the inmate.

DC DOC Internal Stakeholders
TMG was asked to review the current staffing deployment, workload, and coordination between
IRO staff and the following DC DOC areas: Inmate Court Transportation Unit, Inmate Reception
Center and the Case Management Department. The staff from all of these areas collaborate and
coordinate their functions to ensure timely releases.

D.C. DOC Inmate Court Transportation Unit
Pursuant to the IGA between USMS and DOC, DOC transports and provides “guard services” for
inmates going to and from CDF or CTF and D.C. Superior Court or U.S. District Court. The IGA also
provides that DOC staff will execute “detainer pickups based on bench warrants” for prisoners
arrested on DC Superior Court Charges within a fifty-mile radius of DC as directed and coordinated
by the USMS. DOC staff regularly transport prisoners from Greenbelt and Baltimore, Maryland to
federal courthouses in Greenbelt and Baltimore. CTU staff reported they have frequent
communication with USMS staff and noted they are able to work together to accomplish the
mission.

There are approximately
                                                                                            While this
staff complement is sufficient to cover the mission assigned to the CTU, it does not account for staff
leave and training schedules. If all staff are not available to work an assigned post, management
staff may need to pull staff from Central Cellblock or have staff members work overtime to cover
the posts. There are two staff assigned to this Unit who have Commercial Driver’s Licenses (CDL).
If one of the CDL-certified staff members is on leave or in training, the remaining CDL certified staff
member has to work a double shift or the staff have to transport the inmates in vans as opposed to
the bus. While the volume of inmates being transported between the jail and the courts varies, the



CTU staff receive a copy of the                                       list the day before the inmate
is to be brought to court. However, on occasion, judges (both Superior and U.S. District Court) will
issue “forthwith” orders to have a prisoner brought to court on the same day. For USDC matters,


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the USMS notifies the DOC, via e-mail, either the day before or the morning of, to bring a prisoner to
USDC for court proceedings.

In D.C. Superior Court, there is a CTU staff member co-located with the LLIE in the cellblock along
with USMS staff. These staff work together to ensure they have all of the necessary paperwork for
each prisoner transported to a DOC facility. The CTU staff deliver the paperwork to the IRC staff. In
the event a prisoner is to be released from DCSC, a CTU staff member will return to the IRC and pick
up the prisoner’s property and any necessary medication or prescription and return to DCSC with
those items. If the prisoner does not get cleared for release by the IRO by the 5:00 p.m. cut-off, the
prisoner and his or her property and medication needs to be returned to the IRC for release from
there.

DC DOC Inmate Reception Center (IRC)
The DOC’s Inmate Reception Center (IRC) is located at CDF and is overseen by the Operations
(custody) Department. While there is not a set staff complement for the IRC, there are specific
posts on the Master Roster for the IRC.
                 TMG interviewed supervisory staff in the IRC and observed several different aspects
of the IRC operation to include: intake and screening for a new commitment, release of inmates
from the CTF and CDF, processing inmates returning from court, process of taking off restraints,
handling flow of inmates within IRC, physical body scanning, fingerprinting, photographing, issue of
institution bed roll and keying of data for new commitment. Staff in the IRC applied proper security
and correctional management protocols for all the functions observed.

IRC staff asked each inmate for their name and number, comparing the documents they received
from the escorting officers, simultaneously comparing physical appearance and information
received with the picture and information contained on the computer. Once the inmate was
properly identified, receiving documents were either hand delivered to the Lead LIE stationed in
the IRC or placed in IRO tray. The LLIE date stamped the documents, reviewed them and entered
the data                    . The LLIE would personally deliver urgent documents, including
possible immediate releases, to the IRO for processing and verification.


       Further review of this case revealed the inmate should not be released due to a new law
three-year sentence. IRC staff and IRO staff have frequent contact and work well together to ensure
inmates are released in a timely manner.

DC DOC Case Management (CM) Department
DOC’s Case Management Department oversees inmate services, classification, custody issues, phone
calls, liaison on inmate concerns and issue to the 18 housing units with a total population of 1242.
                                                                      Case management staff
completes Residential Reentry Center referrals but all of the other release paperwork (i.e. law
enforcement notifications, halfway house paperwork) is handled by IRO staff. When inmates have
issues regarding sentence computation or release matters, they ordinarily raise them with case
management staff who in turn calls IRO for a response. The responsiveness and helpfulness of the
IRO staff varies greatly. Inmates also have the option to use the grievance process that has five
levels of appeal. The Inmate Grievance Administrator noted that between January 1, 2018 and
August 10, 2018, there were 21 informal grievances filed pertaining to the IRO. There were a
variety of topics regarding sentence computations, inmate behavior credits, and release issues.


Untimely and Erroneous Release Report Review

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Initial Document Review

DC DOC initially provided a synopsis of, and supporting documentation for, a total of nine District
Court-related erroneous and untimely releases that occurred between June 21, 2017, and June 11,
2018. Of the nine releases reviewed, it was determined that two were untimely due to over
detention, six were erroneous in nature for various reasons, and one was a release to a Halfway
House based on a District Court order in question. Causes for errors range from Superior Court
inmates with pending District Court cases being ordered released without a hold on file for the
pending District Court case, to the untimely receipt of court documents ordering release or further
detention.

Additional reports were provided related to erroneous and delayed releases. Of those with
overlapping time frames, quite often, cases listed on one report were absent from another report,
and vice versa. From reviewing these cases and reports, overarching themes were identified,
including the following:

    •   Cases involved multiple complex mitigating factors and, to some extent, were found to be
        difficult to categorize or find a nexus connecting them with one another.
    •   While a number of cases were found to be clearly related to staff’s failure to follow
        established release procedures and protocols, in many instances, the underlying cause was
        multi-faceted, as it involved multiple agencies or a breakdown in more than one procedure
        or method of communication.
    •   The untimely transfer or receipt and routing or processing of documents relating to the
        release or detention of inmates resonates throughout most reports.

Additional Release Reports Review
For purposes of this section of the review, DC DOC provided additional documents for review and
analysis. Two reports were examined (Inmate Record Office Delayed Release Report January 2015
– Present, and Inmate Record Office Early Release Report January 2015 - Present). These reports
encompassed a total of 20 untimely releases: fourteen delayed releases and six early releases over
an approximately 3 ½ year period. 1 However, it should be noted that other reports provided to
TMG relating to the untimely release of inmates varied in relation to the above reports. For
example, the document titled “Summary of USDC Incidents of Erroneous Release and Over
Detentions from June 21, 2017 to June 11, 2018” listed a total of nine inmates, some of which were
not listed on the above reports, and visa-versa. Unfortunately, this calls into question the integrity
of the data contained within the reports examined and further emphasizes the need for a unified
and streamlined approach to tracking and reporting untimely releases.

Careful examination of the 14 delayed releases revealed the following: The total length of over
detention in each case time varied between 6 hours on the low end and 5 days on the high end, for
an average over detention time of 1.8 days. The majority of cases (12 of 14) were found to be
directly related to records office staff error, primarily due to staff’s failure to retrieve and process
release documents in a timely manner. In one instance, the receiving and discharge staff failed to
retrieve and execute release documents provided by the records office in a timely manner. One case
was related to a data base malfunction and another was due to the unavailability of USMS/BOP staff
to authorize the inmate’s release.




1
 Since TMG began this review, DC DOC has identified 5 additional untimely releases, all of which appear to be
directly related to records’ office staff error.
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Careful examination of the six early releases revealed the following: The total length of under
detention in each case varied between an undetermined amount (for example, inmates released
with pending charges or holds) and 0 days, therefore it is difficult to determine an average length of
overall under detention in these cases. The majority of cases (5 of 6) were found to be directly
related to records office staff error, for various reasons. Specifically, 2 inmates were released to
self-custody when they should have been released to treatment programs; 1 inmate was released
after service of his misdemeanor sentence but had additional time remaining related to felony
sentences; 2 inmates were released due to confusion related to the status of outstanding
warrants/detainers. Finally, there was one instance where the records office was erroneously
instructed by the District Court USMS to release an inmate prior to his authorized release date.

In conclusion, although there are numerous outside factors and agencies directly affecting how and
when the IRO releases an inmate, the reports and documentation provided to TMG appear to
indicate 17 of the 20 untimely releases cited above may be directly attributed to IRO staff error. It
is not possible to classify by a single, mutually exclusive cause of untimely releases. What is
evident, however, is that there is not a pattern, practice, or policy for over detention or erroneous
release.




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Comprehensive Understanding of the DC Criminal Justice
System
D.C. DOC operates in a unique and complex criminal justice system that is partially federal and
partially local. TMG interviewed representatives from the stakeholder agencies noted below and
who are involved in the detention or release process for incarcerated individuals. Overall, there
was a spirit of cooperation and collaboration among the stakeholder agencies.

Federal Bureau of Prisons

A telephonic interview was conducted with staff at the Federal Bureau of Prisons’ (BOP),
Designation and Computation Center (DSCC), located in Grand Prairie Texas. Specifically, with staff
from their “Alpha Team,” the BOP’s team responsible for the classifications, designations, and
computations for all D.C. Code felony sentences, US District Court offenders and parole violators.
DCDOC does not compute these sentences.

Rapport and Communication Methods
BOP staff responded favorably when asked about their rapport and communication with staff in the
IRO. Indicating that they have an open line of communication with staff in the IRO, and that they
are very responsive to their requests and inquiries for the information required to complete their
tasks.
Furthermore, DSCC indicated that the rapport and relationship with the USPC was strong, and that
the USPC was very responsive to their needs in relation to those tasks and documents related to
parole violators. Document communication between the BOP, United States Marshals Service
(USMS), and the IRC is primarily accomplished through the                                .
Communication between the BOP and USPC is accomplished
                 Although, BOP staff indicated that it would be beneficial if the USPC was able to
communicate                 , conversely, they also stated that there were no concerns in relation to
the current communication method.

Relationship with USMS
The BOP perceives its relationship with both the D.C. Superior Court and District Court USMS as
both a complimentary and symbiotic one. However, they did voice a concern as it relates to the time
frame in which the District Court USMS has recently been taking to process the cases transmitted to
them by the BOP                  . Specifically, indicating that they recently had to contact the USMS
due to several cases that were sitting in the                      for a lengthy period of time. One or
more of these cases was designated as                  case, or cases in which the BOP computes a
Tentative Release Date (TRD) due to the inmate’s imminent or pending release. The USMS goal is to
process        cases within three days. The failure to process cases in a timely manner has the
potential to result in untimely releases, also known as over detentions.


United States District Court for the District of Columbia

The United States District Court for the District of Columbia processes all felony United States Code
offenses and a selection of misdemeanor offenses. The number of DOC prisoners facing USDC
charges is relatively small—approximately 200—compared to the total DOC population of
approximately 2000.

The Clerk of Courts for the United States District and Bankruptcy Courts for the District of Columbia
was very helpful in explaining the paperwork flow in USDC. Upon signing an order, the judge gives
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the order to the courtroom clerk. The courtroom clerk keeps the original and gives a carbon copy
(the forms are currently configured as an original with three carbon copies) to the USMS courtroom
deputy, the defendant and defense counsel. The DOC is not provided by the Court or USMS a copy
of the Court Orders from USDC. The courtroom clerk will enter the order in the Case Management –
Electronic Filing System (PACER). This usually happens at the end of the day. Ordinarily, the
clerk’s office staff notifies the USMS which prisoners are needed for court proceeding three days in
advance. She did note, however, there were times judges had to issue “forthwith” orders for
prisoners.

United States Attorney’s Office (USAO) for the District of Columbia

The United States Attorney’s Office for the District of Columbia is responsible for the prosecution of
federal crimes and serious local crimes – felonies and certain misdemeanors – committed by adults
in the District of Columbia. It also represents the United States and its departments and agencies in
civil proceedings in federal court in D.C. The office is the largest of the 94 U.S. Attorney’s Offices in
the country and has unique federal and local responsibilities. The office is divided into six divisions,
including a U.S. District Court Criminal Division and Superior Court Division.

In 2017, the U.S. District Court Criminal Division, brought 86 Complaints, 137 Indictments and 71
Informations. Between January and August 2018, the office brought 33 Complaints, 168
Indictments and 56 Informations. It should be noted the same cases are likely indicated in more
than 1 category. If they need to have an incarcerated person brought to court as a witness, they will
often utilize an Attorney Special Request (ASR) pursuant to 18 U.S.C. Section 3621 (d). If issues
arise with D.C. DOC, the office will contact DOC’s General Counsel, who they find responsive and
helpful. The USAO did not report any regular contact with DOC’s IRO or sending/receiving
paperwork from the DOC on a regular basis.

United States Marshals Service for the District of Columbia

The outline of the of the USMS-DC process below is based on interviews with various staff within
the USMS-DC office. Thus, the practices outlined below are as reported and the consistency of these
practices is unknown at this time.

USMS-DC General Information
The USMS-DC houses prisoners in several detention facilities in the region, including DC DOC.
Prisoners in the custody of the USMS-DC include those charged or convicted of crimes under the
jurisdiction of the U.S. district courts, District of Columbia parole violators, community treatment
center (CTC) failures who have been returned to closer custody and are pending disposition by the
Federal Bureau of Prisons (BOP), material witnesses, and others.

Prisoners may enter the custody of the USMS-DC pursuant to probable cause arrests, executed
arrest warrants, remands by the US District Court, writs of habeas corpus, attorney special requests
(ASR), BOP transfers, or other processes. USMS-DC prisoners detained in DC DOC are housed
pursuant to an inter-governmental agreement (IGA) between the USMS and the DOC. USDC
prisoners are booked into the DC DOC using
Prisoners being produced in DCSC court for court proceedings are requested from the DC DOC
                    . Prisoners in the custody of the USMS-DC are tracked using
                                             The USMS has read-only access to the DC DOC
information system. DOC reportedly does not have access to



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Inmate Custody Status
When prisoners in the custody of the USMS-DC are admitted to the DC DOC for reasons other than
new district court charges, DOC staff are notified to hold the prisoner for pick-up by another USMS
office, hold the prisoner for the BOP, or hold the prisoner as a District of Columbia parole violator.
Each status can require the subsequent release of the prisoner by DOC to different agencies and
may affect which agency is responsible for the cost of housing the prisoner.

The custody status of prisoners in the custody of the USMS-DC may change for a variety of reasons.
For example, prisoners may be released on bond, transferred to the custody of the BOP, transferred
to state or local custody, or released due to acquittal, dismissal of charges, or expiration of a federal
sentence.

USMS-DC Release Procedures
For prisoners who are released at the US Courthouse by the USMS-DC, the USMS-DC conducts pre-
release checks to ensure that there are no detainers on file for the prisoner or National Crime
Information Center (NCIC) wanted person entries.

In cases where prisoners are ordered released by the USMS-DC while they are housed at DOC, it is
USMS-DC practice to check for detainers, and if no detainers exist
directing their release from USMS-DC custody.

                                                                                         In these
cases, the USMS-DC defers to the DOC to conduct pre-release NCIC queries and is notifying the DOC
that the prisoner is no longer in the custody of the USMS-DC. However, it is important to note that a
prisoner who has been ordered released by the USMS-DC may still be subject to detention by DOC
based upon other authorities, such as a detainer lodged by another agency with the DOC or a
remand issued by the DCSC.

Cases can be complicated when prisoners are housed at the jail for multiple purposes. It is very
common that prisoners housed at the jail are subject to proceedings in both DCSC and USDC. It is
also common for DC parole violators to have process or proceedings pending in both Superior Court
and the US Parole Commission.

Attorney Special Requests (ASR)
Prisoners in the custody of the USMS-DC may also be the subject of other pending criminal charges
or other legal process in other jurisdictions. According to those interviewed, detainers for prisoners
in the legal custody of the USMS-DC are lodged with the USMS-DC, while detainers for prisoners in
the legal custody of the DOC are lodged with the DOC. Similarly, prisoners in the legal custody of the
DOC may be the subject of warrants for arrest that are under the jurisdiction of the USMS-DC. In
these cases, the USMS-DC lodges a detainer for the prisoner with the DOC, and the prisoner may
subsequently be produced in USDC pursuant to an Attorney Special Request (ASR) issued by the
United States Attorney’s Office for the District of Columbia (USAO-DC).

When the USAO-DC needs a prisoner in the custody of the USMS-DC to appear in Superior Court, the
practice is to issue an ASR requesting the USMS-DC to produce, or authorize the DOC to produce,
the prisoner. However, in some cases, an ASR is not issued, and a federal prisoner housed at the DC
DOC is delivered to Superior Court based solely on a “come up” from the concerned Superior Court
clerk. According to those interviewed, this can lead to confusion regarding the prisoner’s custody
status. Confusion may also arise when orders from the court are sent directly to the DOC. To avoid
confusion regarding the custody status of USMS-DC prisoners, the USMS-DC expects that there will
be no change in the custody status of any of its prisoners without prior USMS-DC authorization.
United States Marshals Service, District of Columbia Superior Court

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According to those interviewed, prisoners are produced in Superior Court as defendants or
                                  including pretrial hearings, trials, sentencing and post-sentencing
hearings, and other proceedings. They may also be called to the courthouse
           , be processed on new charges, for administrative requirements, or other reasons.
Prisoners may be brought into the jurisdiction by the USMS-DC/SC pursuant to ASRs, writs, or other
process, and subsequently be produced in court by requests from the Clerk’s Office.

The term “come up” is a generic term used to describe any request to deliver a prisoner, usually a
request to produce a prisoner in court. “Come ups” may be issued by the Superior Court, the USMS
DC/SC Cellblock, USMS PC Section, or other USMS entity needing the prisoner, and
                           Come ups are generally issued
following the process described below.

Order to Appear Methods and Procedures
The Superior Court sends                         to the DOC in advance of the court date to request
the production of prisoners. The actual transportation of the prisoners to the courthouse is
provided by the DOC or the USMS based upon a set of agreements including a 2002 MOU between
the USMS, DOC, USPC, and BOP; the intergovernmental agreement (IGA) between the USMS and
DOC; and a series of informal agreements between the USMS and DOC.

While the                                  is the primary system used to schedule and deliver
inmates for court, on occasion, other methods may be used, such as “come ups,” “forthwiths,” and
ASRs.
   • The USMS DC/SC occasionally requests a “come up” for a prisoner for its own purposes,
       such as to complete a booking order on new charges, to complete an administrative intake
       on the prisoner, or for some other transport or administrative reason. These USMS “come
       ups” are rare and are requested                                              .

   •   “Forthwiths” are short notice “come ups” issued by the Court for prisoners. They are
       typically same day requests for prisoners left off the daily production list for some reason.
       Forthwith requests are made                                                under normal
       circumstances. The                                   in the request for a forthwith until they
       arrive in the USMS cellblock.

       Attorney special requests (ASR) are issued by the U.S. Attorney’s Office (USAO), and are
       generally                                        Upon receipt, the USMS
                                                                  The ASR is generally shared with
                                                                                          Writs are
       generally handled via the same process; however, they are issued


Prisoner Coordination
The USMS DC/SC Prisoner Coordination Section and Cellblock Section regularly interact with the
DC DOC to manage prisoner operations. The PC section handles transport into and out of the
jurisdiction and the Cellblock section handles daily prisoner transfers from and returns to the DOC
and secure custody within the Superior Court Cellblock. The Cellblock also handles some transport
duties to and from local facilities.
Both sections interact with DC DOC transportation units. The Cellblock has the most interaction,
receiving hundreds of prisoners per day from the DC DOC transport personnel each day while the
PC section has less regular interaction.



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Detainers and Release Procedures
According to the USMS DC/SC, the DOC does not lodge detainers with the USM DC/SC, as the USMS
DC/SC does not house prisoners outside of its own cellblock during court hours. Similarly,
according to the USMS DC/SC, the USMS DC/SC and USMS D/DC do not lodge detainers with each
other as the USMS DC/SC does not house prisoners outside of its cellblock and all USMS offices use
the same database,                                                for prisoner tracking. The USMS
DC/SC may                      a detainer to the DOC on behalf of the BOP or another institution if
the USMS transported that prisoner to DC.

The USMS DC/SC does not typically order prisoners to be released by DOC because the majority of
these prisoners are in the legal custody of the DOC. On rare occasions, the USMS DC/SC may be
required to release prisoners who are in USMS custody pursuant to writs or ASRs while they are
housed by the DOC. In these cases, the USMS DC/SC generally forwards release paperwork to the
DOC                         , and the DOC incorporates these documents into their custody review
process and releases the prisoner if appropriate.

United States Marshals Service, District of Maryland
When a prisoner production is required by the Court or the USAO, representatives of the Clerk’s
Office or USAO       a “come up” to USMS personnel from the Greenbelt or Baltimore Operations
Office. A “come up”
                                                             Upon receipt of a “come up”, USMS
personnel enter the information                                                     At the end of
business day prior to the scheduled production, USMS personnel
                         the prisoners to be produced the


Prisoners may be produced pursuant to attorney special requests (ASR) when they are serving a
sentence in BOP custody. In these cases, ASRs are generated by the concerned AUSA and submitted
                          to the USMS. Upon receipt, the USMS initiates a prisoner movement
request                                           . Prisoners are then transferred from BOP to the
USMS                                                                     , usually within 30 days.

Prisoners in the custody of other USMS offices or agencies may be produced pursuant to writs of
habeas corpus, which are generally received              from the concerned AUSA. When the subject
of the writ is in the custody of another USMS district office (for example, the District of Columbia or
the District of Columbia Superior Court), the writ is              to that office for processing. In these
cases, the concerned AUSA in the District of Maryland (D/MD) seeks the consent of the AUSA in the
other district for transfer of the prisoner to D/MD.

For prisoner releases, the USMS D/MD requires a written order from the Court or a “come up” from
the USAO, U.S. Probation Office (USPO), or U.S. Pretrial Services. These documents are generally
received                             Upon receipt, the USMS adds the requested prisoner
                                    following the procedures described above for prisoner
productions, noting the                                                    Upon the prisoner’s arrival
at the USMS cell block, USMS personnel verify their release status, and in cases where prisoners are

conduct checks for active warrants and detainers prior to their release.

Standard operating procedures documenting these practices are currently being developed by
USMS D/MD. Prisoners are transported by
                                The USMS D/MD lodges detainers with the DC DOC when the
USMS holds an active arrest warrant for a prisoner in DC DOC custody.
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Public Defender Service for the District of Columbia
The mission of the Public Defender Service (PDS) for the District of Columbia is to provide quality
legal service to indigent individuals in order to get then completely and permanently out of the
criminal justice system. PDS represents individuals facing felony charges in D.C. Superior Court as
well as parole violators. PDS is an agency of the District of Columbia and is federally funded. They
are governed by an 11-member Board of Trustees appointed by a panel consisting of the Chief
Judges of the U.S. District Court for the District of Columbia, the Chief Judge of the D.C. Court of
Appeals, the Chief Judge of the Superior Court, and the Mayor. The Board appoints the Director and
Deputy Director of PDS.

PDS has a section that handles approximately 1300 parole cases per year. The parole revocation
hearings occur at DOC’s Central Treatment Facility every Monday and Wednesday. PDS has access
to          PDS does not have authority to release inmates. PDS receives a copy of the Parole
Commission’s Notice of Action and will monitor when their client is due to be released. If they
become aware the release has not occurred as expected, they will contact the IRO to determine why
their client hasn’t been released. Staff reported the IRO Manager was responsive and helpful. They
indicated there have been times when their client went out to court for a hearing, returned to the
jail but when the PDS attorney arrived at the jail, they were advised their client was out of the
institution. They believe this may be caused by          only be updated once per day and
recommended that            be updated more frequently to accurately reflect the inmates who have
been returned to the facility during the day.

United States Probation Office for the District of Columbia
The mission of the United States Probation Office for the District of Columbia is to assist in the fair
administration of justice; to provide the highest quality service; to protect the community; and to
improve the lives of those we serve by using the most effective supervision techniques, the most
supportive treatment programs, and the finest community service partners. In 71 of the 94 judicial
districts, USPO provides pretrial services to the court. In the remaining districts, including the
District of Columbia, there are separate U.S. Probation and Pretrial Services Offices. All of the
probation officers in the USPO report to the Chief Probation Officer who in turn serves the Chief
District Judge. The Administrative Office of the U.S. Courts provides administrative support to the
courts, including staffing and other resources, and enforces policies promulgated by the Judicial
Conference of the United States.

The USPO supervises individuals who are serving a term of probation or supervised release from
the USDC. Ordinarily, they do not supervise pre-trial defendants except for the occasional courtesy
supervision on behalf of another federal judicial district. Additionally, USPO supervises a small
number of military offenders as well as some parole offenders. The USPO does not have authority to
“release” or “revoke” individuals from supervision. This release or revocation authority rests with
the U.S. District Judge who placed the individual on probation or supervised release, the Parole
Commission or for military offenders, the appropriate military board.

The USPO has approximately forty staff members and has two branches: Pre-Sentence
Investigations and Supervision. The Pre-Sentence branch conducts comprehensive investigations
into the background of defendants convicted of federal crimes. The staff assigned to the branch
completes their investigation, applies the sentencing guidelines and submits a recommendation to
the presiding judge. The Supervision branch supervises felons convicted of federal crimes who are
released into society on either Supervised Release or Probation. The US Probation Officers enforce
the court ordered conditions and utilize their discretion and skills to mitigate offenders risk to
society. If an offender violates their conditions of Supervised Release or Probation, the Probation
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Officer prepares a report for the judge and makes recommendations on whether to revoke the
offender, not revoke and modify the offender’s conditions of supervision or something else. The
USPO files its reports electronically.

The USPO interacts with DC DOC frequently regarding issues such as bed-to-bed transfers to
halfway houses, TB tests, and weekend offenders. They do not have regular contact with DOC’s
Inmate Records Office and do not regularly exchange reports and documents with that office.


United States Parole Commission

The mission of the USPC is to promote public safety and strive for justice and fairness in the
exercise of its authority to release and revoke offenders under its jurisdiction. The Parole
Commission is a component of the U.S. Department of Justice and led by a Presidentially-appointed
Chairman. The USPC oversees all federal offenders who committed offenses before November 1,
1987, all DC offenders, Uniform Code of Military Justice offenders, probationers and parolees in the
Federal Witness Protection Program, and Transfer Treaty cases.

Pursuant to the Parole Commission and Reorganization Act of 1976, the Commission makes
decisions to grant or deny parole to federal and D.C. Code offenders serving of more than 1 year,
sets conditions of parole, supervises parolees and mandatory releases, and recommits parolees in
the event of violations of the conditions of supervision. The National Capital Revitalization and Self-
Government and Improvement Act of 1997 transferred the functions of the D.C. Board of Parole to
the USPC effective August 5, 1998. For D.C. Code inmates, the USPC applies D.C. parole laws and
regulations in making parole decisions. Parole was abolished, and supervised release was
established, for D.C. Code offenses committed on or after August 5, 2000.

Parole Violation Process
As of July 5, 2018, DOC was housing a total of 350 Parole Violators. These violators can be in
various stages of the parole violation process. As of September 2018, once a USPC Parole
Commissioner signs a warrant, the warrant is given to DCSC USMS. Once the warrant is executed,
the USMS sends the USPC a copy of the executed warrant. The USPC holds probable cause hearings
at CDF. When USPC staff are processing Notice of Actions for DC Code felony offenders,
           to the BOP’s Designation and Sentence Computation Center (DSCC) seeking an expedited
sentence computation. The DSCC sends updated computation
USPC staff reported the BOP provides them timely sentence computation information. When the
USPC is directing the release of a prisoner, they send the IRO
                                                USPC staff send to the USMS.
                                                                         USPC staff reported they had
good communication with the IRO staff.

USPC staff
                          They do have access to DOC’s         system and find this a very useful tool
in carrying out its mission.
Comparative Analysis
The TMG team visited three jurisdictions to observe detention processes and interview staff about
inmate release procedures. TMG sought to identify jurisdictions which performed the best in
detention and release processing. There is no publicly available data identifying which correctional
system has the fewest (and greatest) number of untimely releases. Correctional agencies either do
not track their untimely releases, or if they do, they are unwilling to share that information publicly
due to liability and public relations concerns. TMG reached out to national organizations seeking
this data and was advised no such data existed. TMG drafted a survey and had it sent out to
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correctional agencies. Due to the poor response rate to the survey, TMG selected the jurisdictions
based on their comparability to the size of DC DOC and similarity with records processing volume
and complexity. Below is a brief description of the jurisdictions visited.

Davidson County Sheriff’s Office (DCSO), Hill Detention Center

The TMG team visited the Hill Detention Center (HDC) in Nashville, Tennessee which is one of five
facilities operated by, or under contract with, the Davidson County Sherriff’s Office. The HDC
provides intake and release services for all five of the DCSO’s facilities. The DCSO houses
approximately 860 inmates per year for the US Marshal Service (USMS). Also, they are responsible
for booking inmates for the Davidson County Sheriff’s Office and Nashville Police Department. The
five facilities at the DCSO house inmates with sentences of up to six years. Inmates with greater
sentences will be housed in the Tennessee state prison system. The average daily population for
the DCSO is approximately 2,500 inmates. The DCSO processed a total of 35,000 intakes with the
same amount of releases in 2017. The average daily count for court movement is approximately
between 150 to 200 inmates.

DCSO’s Director of Intake Services (DIS) is responsible for the day-to-day operation of the Booking
and Releasing areas and its components. The DIS indicated the total staff complement for his areas
of responsibilities are 110 staff, with a total of six supervisors. Duties are divided by areas. The
Booking and Releasing areas have a 24-hour operation consisting of three eight hour shifts and two
shift supervisors. Nine staff assigned to the Booking area per shift, three for the Releasing area per
shift, four staff assigned to the Time Computation area and which only work an eight-hour shift, two
staff assigned to the Pre-trial area per shift.

The DCSO staff receive paperwork authorizing or directing inmate releases through several
methods
                   It was indicated the releasing authority is the court which mandates and signs
the release orders. For inmates belonging to the USMS they provide
and the inmates do not stay committed to the DCSO.

The Time Computation section is responsible for calculating inmate sentences. This department
manually inputs prior custody credits, behavior/program credits in order to finalize the
computation and match it to the future release date provided by the Court. The Time Computation
process is completed by the Time Computation Officers in just one step after the sentence is
calculated. The Booking/Releasing component is a 24-hour operation. However, DCSO ordinarily
does not release inmates at all hours of the night but rather waits until the “safe time” of 9:00 am.
This policy change was implemented after an inmate was released around midnight and tragically
killed by a train.

The Clerk of Court and Fines Offices of the court notifies the
                   with signed documents                               to be released. The Time
Computation section notifies the Releasing office staff which then performs the verification of the
documents and execute the Court’s order. The Court has the signatory authority for releases.

We were informed that the Nashville Jail has not had any erroneous releases due to their own staff
error since approximately four years ago in which they had four or five per year due to staff errors.
They advise that the issue has been corrected as they have implemented shift audits and releases by
fingerprints, preventing any erroneous releases. Presently, they reported that they had 2 untimely
releases per year not attributed to staff error, citing the reason as being that the staff did not
receive the release documents from the Clerk’s office or received them too late.


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DCSO has a policy on Booking, Releasing, and Sentence Computation procedures. Training is
conducted for new staff by on the job, hands on training for thirty days on first shift and then the
new staff will be assigned an “anchor staff” (experienced staff) to shadow and train with that staff
for two weeks.

Staff in the Booking/Releasing, and Time Computation areas wear uniforms consisting of green
tactical pants (5.11s) and a black polo with the DOC logo embroidered on the left side and their
names on the right side. The uniform gave the impression that it promotes camaraderie. In their
uniforms, staff appear to be professional and resemble a cohesive team.

The Time Computation section and Release sections have a file cabinet which contains the files and
documents of future inmate releases for the next 30 days. The practice of reviewing the next 30-
day releases assist staff to work a step ahead for future releases and allows them the opportunity to
re-check and prevent a month in advance any possible computation error.

Staff appear to be content with their work and there are three to four staff per areas in an office
(which is a converted cell). Within the office they are separated by cube spaces. Staff expressed
the cubes provide a productive environment appropriate for concentrating, promoting a sense of
ownership and providing some privacy for phone calls.
 The Sheriff indicated he conducted monthly meetings with outside stakeholders and components
and the Chief of Police to discuss issues of mutual concerns. Absent any specific issues to discuss,
this meeting/lunch provided an opportunity to spend time together and develop a relationship with
these stakeholders. The Sheriff indicated this was time well spent to assist future interactions with
stakeholders in times of crisis.

Philadelphia Curran-Fromhold Correctional Facility

The Philadelphia Department of Prisons operates five institutions at a prison complex in
Philadelphia, Pennsylvania that house female and male inmates for the City and County of
Philadelphia. TMG consultants visited the Philadelphia Curran-Fromhold Facility (PCFCF). The
PCFCF provides intake and release services for all five institutions. In calendar year 2017, PCFCF
processed a total of 27,956 intakes and released a total of 28,308 inmates. Only a few federal
inmates are held at this facility for the USMS. The average daily population for all of the facilities is
approximately 5,000 inmates. The count for court movement is approximately 150 to 200 inmates
for all five facilities. Inmates with sentences greater than two years are housed in the state of
Pennsylvania prison system.

The Philadelphia Sheriff’s Office staff are in charge of transporting inmates going to court for the
five facilities at the PCFCF complex. Internal movement among facilities, such as routine
transfers/disciplinary cases are handled by Prison Transportation staff from the PCFCF, after
review and approval by the CMR management staff. CMR staff process an average of 20 to 40
transfers a day.

At the PCFCF the Director of Records is responsible for processing the paperwork for the
Registration (which is Admission and Discharge), Classification, Movement, and Records (CMR)
areas. The total staff complement for the CMR areas are 77 staff of which 42 are assigned to 14
posts on three 24 hour shifts with a total of eight supervisors, five supervisors on day shift, two on
evening shift and one overnight. Although the CMR area has only 3 to 4 staff assigned per shift.
Duties and work in this department is divided and assigned to staff based on the post they are
working. Posts orders describe the responsibilities and work to be performed. There is a
designated Release Officer (RO) whose sole responsibility is to be in charge of preparing and
processing all documents for discharges. There are three civilian staff that work in the Records
Office which are city bid jobs and one of them is assigned to solely process house arrests.
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Staff interested in working in the CMR areas bid for the post. The qualifications or criteria for hiring
staff in these areas are officers usually with tenure of at least two years. The average length of
tenure in the CMR area is 10 to 15 years or longer. The Director and the Deputy Warden are usually
in charge of reviewing and selecting the staff that will work in the department. CMR staff receive
the same pay as officers and titles are the same as security or correctional staff.

CMR staff only receive documents from one court, the City of Philadelphia Criminal Justice Center
and their Office of Justice Records (OJR). Therefore, the paperwork flow is consistent and deemed
by staff to be very good. The OJR has been in place for approximately eight years, their Criminal
Justice System Clerk of Quarter Sessions sends the documents directly to staff at the CMR
                                           Since this is the office originating the official court
documents, it eliminates the need of verifying the legitimacy or authentication of the documents,
saving time for staff in charge of processing the documents at the CMR office. The Philadelphia
Police are responsible for booking their own inmates within the booking area of the jail and
handling arraignments.

PCFCF staff provide intake and release services to five facilities within the complex. Although
inmates are released from all five facilities, most inmate releases occur from the PCFCF and occur
within a two-tier verification process. When inmates that are not in the PCFCF are to be released,
the Registration (Booking) area notifies the Control Center of the pertinent facility, the Medical
services area, and the Records office of the inmate’s release. The release process starts with the RO
preparing all release documents. Then the releasing authority for the PCFCF, which is the Sergeant
in charge of the shift, verifies the documents prepared by the RO, identifies inmates via the “Arm-
Wrist band”, and reviews the photo and fingerprints to ensure the correct inmate is being released.
The release (discharge) operation is conducted 24 hours a day and there is no restriction regarding
when an inmate may be released from custody. Some inmate releases are done at the court house
and handled by the Records office staff.

The Clerk of Quarter Sessions notifies the CMR office of the inmates to be released and CMR staff
process the release paperwork. The CMR staff uses a “Clearing Court Board”. This board contains
the name and count of all inmates that went to court for the day. Once the CMR staff receive
notification of an inmate releasing from court, they update the board to ensure they account for all
inmates that went to court for the day.

PCFCF does not systematically track untimely releases. TMG was informed untimely releases are
very rare and they have no requirement to prepare untimely release reports. However, if they have
an untimely release, staff prepare a “flash report” to immediately notify the chain of command and
all necessary components with a brief description of the incident. After an untimely release, a full
investigation is initiated to determine the cause and implement corrective action.

CMR staff have developed a good working relationship with the Office of the Public Defenders of
Philadelphia (PDP). CMR staff indicated and we reviewed documents wherein the PDP office sends
on a daily basis to their Prison liaison at the Records Office a memorandum with names and
numbers of their clients with unresolved release or sentence issues seeking assistance. CMR staff
review the issues and provide a written response to the PDP. This process assists CMR staff, the
PDP office, and the inmate to prevent and avoid potential untimely or delayed releases.

CMR staff are part of a bargaining unit. They receive free uniforms once a year and also receive a
uniform allowance once a year. The uniforms are a white embroidered polo shirt with the PDOC
patch on the left side of the chest and names embroidered on the right side with black long-leg
tactical type pants. The uniform projected professionalism and camaraderie. CMR staff were
observed to have a teamwork approach to expedite daily tasks. The CMR office area is divided in
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cubicle style with a desk, single computer monitor, and a telephone. The cubicle set up offers
privacy, a sense of individual ownership, and comfort.

Montgomery County Department of Correction and Rehabilitation

The Montgomery County Department of Correction and Rehabilitation (DOCR) is comprised of
three correctional facilities: Montgomery County Correctional Facility (MCCF), Montgomery County
Detention Center (MCDC) and Pre-Release Center (PRC). MCDC handles the intake and law
enforcement processing of adult male and female offenders in Montgomery County.

The current population of DOCR is 771 inmates. In 2017, DOCR processed 5,798 intakes (averaging
approximately 483 per month) and processed 5.582 releases (averaging approximately 465 per
month.) Ordinarily, inmates serving a sentence of 18 months or less serve time with DOCR. For
sentences greater than 18 months, inmates will be transferred to the Maryland Department of
Public Safety and Correctional Services. There are occasions when a judge will sentence a
defendant to consecutive 18-month terms and specify if the sentence is to be served in the county
DOCR.

The vast majority of inmates in DOCR come through the Montgomery County Circuit Court (which
handles more serious criminal cases) or the two District Courts in Montgomery County (Rockville
and Silver Spring). The DOCR’s Records Office receive court documents
                 by the Montgomery County Sheriff’s Office when they return from court with the
inmate. The Sheriff’s Office is responsible for transporting the inmates to and from court and
between DOCR facilities. Some inmates get released directly from the Courthouse by the Sheriff’s
Office. The Records Office staff also has access to court computer systems
                            . DOCR’s
         pulls information from the courts computer system (i.e. status of cases).

The Records Office currently has 13 staff members, including three managers and one Office
Services Coordinator. The Office Services Coordinator manages the office supplies and equipment
as well as the paper files. The remaining staff are Correctional Records Coordinators (CRC). The
office operates on a 24-hour schedule with the bulk of the staff working the day shift 6:30 a.m. –
3:00 p.m. The shifts are staggered and overlap. Inmates can be released 24 hours a day, although if
the inmate is at MCCF, the Sheriff’s Office will not transport them to MCDC after 9 or 10 pm and so
they would be released the following day. The office set up is conducive for privacy and comfort and
had a relaxed atmosphere. The workstations are arranged in a manner that gives staff a sense of
privacy and permits interaction between staff. The staff in records have worked there for at least
ten years with the longest tenured employee serving 36 years.

There is no formalized training program for staff in the Records Office. There is a Field Training
Officer who does train incoming staff on their new duties. This Field Training Officer works in the
Records Office and performs the training function as a collateral duty. Staff are cross-trained to
perform all of the various functions within the office. The duties are divided up by function and
staff rotate performing those functions on a regular basis. Task assignments are those things that
need to be completed by the end of the day. The task assignments are rotated on a monthly basis.
The more specialized tasks are rotated on an annual basis. There are staff dedicated to processing
inmate releases. This function rotates on an annual basis. The office should have a full-time
Dimunition Specialist (also known as a Sentence Computation Specialist). Due to a hiring freeze,
that position has been vacant for some time and other staff in the office have been doing the
sentence computations. The Records Office handles all of the transportation paperwork for
inmates coming into and departing the correctional facilities.


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For all inmate releases, the paperwork is prepared by a CRC, reviewed by a Supervisor, and then
reviewed by the Records Office Manager. For inmates serving sentences, the staff pull paper files,
review the computations, and run detainer and warrant checks two weeks in advance. They do
another detainer and warrant check the day the inmate is scheduled to be released. In 2017, DOCR
had a total of 4 untimely releases. One inmate was released a day early and the remaining 3
inmates were released a day late.

There were similar practices in release processing in all three jurisdictions visited. For example, all
three jurisdictions operate a 24 hour/day Records Office operation; have staff assigned to perform
specific functions, i.e. sentence computation and releases; have sentence computation and release
policies; and none have a formalized training program for Records Office staff. Two of the
jurisdictions have staff uniforms for the Records Office staff and two receive court documents
directly from the Clerk’s Office via e-mail. It was not possible to compare the staffing in the Records
Office with DOC’s IRO with two of the jurisdictions due to the fact the Records Office in those
jurisdictions had different duties, i.e. classification, transportation, etc.




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DC DOC and Relevant Stakeholder Recommendations
Based on the data provided by DC DOC, we found the vast majority of untimely releases over the
past 3-1/2 years were due to DC IRO staff error. In many instances, the underlying cause was
multi-faceted and difficult to categorize or find a nexus connecting them with one another. There
are several steps DC DOC can take, which should be prioritized by DC DOC, to reduce the possibility
of untimely releases. These include but are not limited to: finalizing and implementing the
Technical Reference Manual; developing and implementing a Sentence Computation Manual;
creating and delivering training for IRO staff and; creating and implementing several additional
quality process audit systems. Additional information regarding these recommendations is further
described in the subsequent section.

For ease of reference, the recommendations provided below are arranged in relation to relevant
category and not sequenced in terms of priority. TMG encourages the DC DOC to review the
recommendations listed below and determine a strategic plan for implementing the prioritized
recommendations in an intentional and deliberate order with attention paid to overlapping
initiatives that ensures consistent and supporting messaging. TMG is willing to collaborate with DC
DOC to determine priority areas, in addition to those listed above, and the resources required to
ensure capacity for implementing the priority recommendations effectively and sustainably.

Recommendations designated with an asterisk (*) are based on practices observed or reported
from other jails that were visited as part of a comparative analysis conducted, which was stipulated
within the scope of work for this project.

DC DOC and the Inmate Records Office 2 Recommendations

Equipment and Technology

      1.   Provide IRO staff with the equipment and training to use dual screen technology.

           DOC IRO staff would benefit from the ability to use readily available dual screen technology,
           wherein they can view and work on multiple documents and programs simultaneously. For
           example, while computing a sentence, LIEs can have the court document(s) displayed on
           one screen, while simultaneously entering date into Lotus Notes on the second screen. This
           can be accomplished without the need to close or toggle back and forth between documents
           or programs, thus saving time, and reducing data entry errors.

      2.   Transition into modern software applications.

           Update software programs for IRO staff, such as
                                                                                          for data
           management.

      3.   Install cubicles, or some type of workstation configuration, in the IRO.

           The current design of the Inmate Records Office is a large, open office area. The work areas
           for the Legal Instrument Examiners do not offer a private space to complete their tasks,
           most of which require focus and concentration. Having some sort of partition or barrier
           between the work areas should reduce the noise and distractions and provide a better work
           environment.

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    See page 6 for additional information related to the Inmate Records Office.
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      4.   Continue working toward a paperless environment.

           Paper documents often get lost or misfiled, as is the case in a number of the erroneous and
           untimely releases noted above. A secure and backed up paperless environment greatly
           minimizes the risk of losing or misplacing a digital document and provides a tracking
           mechanism from inception to completion. The DOC’s development and current use of the
                                                    is a significant step in the right direction.

           Currently, court return documents are received from three different court systems; D.C.
           Superior Court, U.S. District Court (District of Columbia & Maryland), in the following ways.


                   •                                          (these are court orders received in the IRO
                       satellite office at DC Superior Court)
                   •   Hand delivered from IRC (throughout the day and as the “last load envelope”)
                   •   Hand delivered from Case Managers (GTC awards for program participation)

           All documents should start as an electronic document at their point of origin and follow an
           established workflow. On November 7, 2017, the District of Columbia’s Office of
           Contracting and Procurement issued a Request for Proposals (RFP) seeking a Contractor to
           develop, install and implement an Offender Management System (OMS), which shall replace
           the current jail management system.

           The RFP included a request for the Contractor to provide an Enterprise-wide Content
           Management (ECM) solution that allows DOC to capture, extract, index, store and display all
           inmate documents and automatically update the Offender Management System with inmate
           record data. The ECM system shall significantly improve the accuracy of the inmate records
           being created. The current          system is time-consuming and outdated and it does not
           incorporate into the computation process good behavior credit. Sentence computations, as
           well as behavior credits, education, special projects, and work details are all manually
           entered into         This practice leaves a large margin for staff calculation error. Having a
           new system that can automate a number of these functions will be helpful. The ECM shall
           allow DOC to retrieve images of paper documents online for review and processing. The
           ECM shall replace the functionality of the                                             It is
           critical that the (ECM) portion of this project move forward and that a paperless system be
           implemented.

Paperwork Flow and Authorizations

      5.   Establish procedures that ensure IRO paperwork received in Receiving and Discharge
           (R&D) is expeditiously delivered to the IRO.

           It was observed that upon return from court proceedings, the paperwork accompanying
           inmates is placed in an IRO inbox located in the Inmate Reception Center 3 (IRC), to await
           pick-up by IRO staff. Staff from the IRO are notified telephonically by the IRC staff when this
           occurs and are expected to pick up the paperwork. This method may create time delays in
           the processing of documents related to inmate releases.




3
    See page 11 for additional information related to the DOC Inmate Reception Center.
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           •   Assign the responsibility to an IRC staff member to take all paperwork to the IRO
               immediately upon receipt.
           •   Station a LIE in the IRC during peak movement or processing hours who will
               immediately scan and enter the paperwork into the IRO system for processing.
           •   Evaluate the feasibility or prudence of returning to the “dumbwaiter” system of
               transporting paperwork between the IRC and the IRO. Implementing the paper chute
               system will allow DOC to relocate the Lead LIE at the IRC back to the IRO for effective
               use of that resource’s competence and knowledge.

     6.   Consider eliminating the trial basis requirement for the IRO supervisory staff to call
                                                                        prior to any release.

           There does not appear to be any value added to the release process by
                                                                                 This
           requirement was to be implemented on a trial basis. The management staff
                                                                   and this additional step is adding time
           to an already time sensitive process. Both the IRO staff and
                                     do not seem to believe it is adding value to the release process.

     7.   Evaluate whether requiring three signatures and completion of the Release Clearance
          Checklist for every release is an effective checks and balances system for the release
          process.

           The Release Clearance Checklist and three-signature requirement have been in effect for
           approximately three months. DOC staff, to include IRO staff, should review whether these
           new requirements have improved the release process, uncovered any errors, had an impact
           on release processing time or had any unintended consequences. This evaluation should
           determine the impact the requirements have had on the Superior Courthouse Release
           Program 4 and the DOC’s compliance with the DOC Inmate Processing and Release
           Amendment Act of 2012. The DOC should then decide whether to maintain, modify, replace
           or eliminate these requirements for all or certain (i.e. Superior Court) releases.

DC DOC and IRO Leadership
     8.   *Upper management should conduct regular meetings with IRO staff.

           On a regular basis—monthly, quarterly, or, at minimum, bi-annually—leadership should
           meet with staff to get involved in what happens in the IRO. This provides the opportunity to
           listen to IRO staff, stay connected with the issues, support staff efforts, and work on
           challenges or solutions that affect the operation of the IRO.

           Further, the IRO supervisor should have weekly, or, at minimum, bi-weekly regular
           meetings with all staff to celebrate successes, communicate issues, challenges, or events
           that have transpired that affect daily IRO operation. This practice will allow for staff to feel
           supported and open up communication for professional development and the prevention of
           potential errors in work.

     9.   *Upper management should consider conducting monthly meetings with outside
          stakeholders, such as the USMS, MPD and BOP, to discuss issues of mutual concern.




4
    See Page 9 for additional information related to the Superior Court Release Program.
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       This practice was reported by a local jail where leadership indicated that monthly meetings
       are conducted with outside stakeholders to discuss issues of mutual concerns. If there were
       no issues to discuss for that month, they had an opportunity to spend some time together on
       a one-to-one basis. This practice has reportedly been successful in establishing good
       rapport and engaging with key stakeholders in times other than in crisis situations.

IRO Staff Training

  10. Create formalized training for LIEs assigned to the IRO.

       The IRO appears to lack a formalized and documented training for LIEs. Currently, the
       training is conducted through a combination of on-the-job training, “break-out” training
       sessions, and ongoing guidance from peers and supervisors within the IRO.

           a. Once the Technical Resource Manual is finalized, use the manual to model a
              comprehensive training program for LIEs that is formally schedule, administered,
              and documented accordingly.
           b. Develop a two-session or tiered training program, with a structured certification
              process such as the following:
                 i.   Tier 1: Basic IRO Training– Computing Sentences, Application of Good Time,
                      Reading and Interpreting Legal Documents, etc.
                ii.   Tier 2: Advanced IRO Training– Understanding and Applying Statutes,
                      Codes, Laws, Case Law, Aggregated Sentences, Concurrent Overlaps, etc.
           c. Administer testing following the training session that will demonstrate knowledge
              retention and allow trainers or managers to focus on individualized training plans in
              areas where staff may have struggled in comprehension.
           d. Assign each staff a rotating shift after completion of basic and advance sentence
              computation training for them to be familiar and gain proficiency of the total
              operation of the IRO.
           e. Incorporate a quarterly refresher training session that uses live examples (omitting
              names of staff and inmates involved in the events) that transpired that quarter at
              the IRO, which created challenges, errors, or good results by staff.
           f. Ensure all supervisory staff have formal supervisory training, with scenario-based
              learning and regular annual refreshers of necessary management skills.

Process Efficiencies and Quality Assurance

  11. Establish an Operational Program Review Process for the IRO.

       Establish a self-monitoring quality assurance system that provides oversight of the IRO
       program performance and compliance. Oversight should involve monitoring specific
       program areas, conducting risk assessments for the purpose of creating new guidelines, and
       analyzing program performance trends and other data to achieve continuous program
       improvement.

       These reviews would be designed to examine compliance with laws, rules, regulations, and
       policy. In addition, they would serve to examine the adequacy of controls, efficiency of
       operations, and effectiveness in achieving program results.

       In addition, the Program Review Team would provide a comprehensive analysis of specific
       program performance and IRO patterns and trends while serving as a liaison with external
       agencies.

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  12. *Implement an official departmental manual on sentence computations.

       A manual on sentence computation will establish a knowledge-based operation, promote
       competence, efficiency, and consistency in the IRO. We understand the drafting of the
       Sentence Computation Manual is underway and has been under development for some
       time. The Manual should serve as the instructional document on which DOC staff will rely to
       compute sentences. It should be completed as soon as possible. The Sentence Computation
       Manual and Technical Reference Manual should form the basis of IRO staff training.

  13. Consider establishing an audit system for sentence computations, such as a review
      process where the computation is calculated by the LIE, reviewed by the Lead LIE,
      audited by the Supervisory LIE, and a final audit by the CPO prior to the inmate
      releasing.
       It was reported that once the sentence is calculated, it is not audited or reviewed again until
       the day before the inmate is released from his sentence. The cases with sentences of 180
       days or less are computed and reviewed the same day the Supervisory LIE receives them.
       This practice is concerning as the possibility of incorrect credits or miscalculations of the
       computation can result in an erroneous release.

       An audit system that tracks release dates at 6 months, three months, or, at a minimum, a
       month in advance for inmates with short term sentences will improve the margin for error
       and allow IRO staff more time to process and plan for releases.
  14. *Develop a file cabinet system that contains files and documents of future releases.

       Review the records and prepare the release paperwork for inmates serving sentences at
       least two weeks, but possibly, up to four weeks, in advance of the inmate’s scheduled
       release. Staff must re-check for warrants and detainers on the day of release. Having as
       much of the process completed as possible in advance will streamline the process and
       should reduce the stress of trying to complete all the necessary tasks on the day of release.
       This process was observed at a local jail and is reportedly a reliable system.

  15. *Consider implementing the use of a “Clearing Court Board.”

       This will allow DC DOC IRC staff to monitor the movement of inmates that went to court for
       the day and keep track of any inmate that may release directly from court. This practice was
       observed at a local jail where the Receiving and Discharge staff currently uses this system.
       The board contains the name and count of all the inmates that went to court for the day.
       Once the staff receive notification of an inmate releasing from court, the board is updated to
       ensure all inmates who went to court that day are accounted for.




  16. *Incorporate a quality process audit on each shift.

       One staff member would be responsible on each shift on a rotating basis to review the
       previous shift’s releasing documents. This process is intended to double check the inmate
       release documents, computation information, and accuracy of the work conducted by staff
       on the prior shift. This practice was observed at a local jail and was reportedly helpful.
       Errors that were caught during this review process were corrected and used as learning
       opportunities for staff.

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  17. Continue conducting a routine reconciliation of the custody status of all prisoners.

       On a weekly, or potentially more often, exchange prisoner lists between USMS-DC and DC
       DOC to ensure custody status is properly reflected in DC DOC and USMS files and
       information systems. Identify any errors and coordinate their correction by USMS and DOC.

Staffing
  18. Examine the management structure in the IRO and whether it is meeting the DOC’s
      needs and gaining the outcomes from staff that are expected.

       The current structure of the IRO appears to be fairly top-heavy. There is a higher need for
       operational staff assigned to a particular function and less managerial staff. There is also a
       discrepancy between the LIE and the Lead LIE positions, which both appear to have the
       same task expectations yet are on different pay grades. All Lead LIEs and LIEs should be
       given the same title and designated as the same grade to resolve this unnecessary internal
       IRO staff conflict.

  19. Evaluate the grade structure for the IRO staff and determine whether any changes
      should be made to ensure staff in the IRO are compensated appropriately for the
      specialized, technical job they perform.

       The IRO needs the ability to recruit and retain the most qualified staff to perform their vital
       mission. The pay grade needs to align with the level of skills needed to competently
       perform their tasks.

  20. * Designate a Training Coordinator for the IRO.

       Having a staff member designated to develop curriculum, provide training, develop and
       administer pre-testing and post-testing for the training and document the provision of
       training to IRO staff would assist in ensuring staff have the necessary information to
       perform their duties. These functions could be performed collaterally by an IRO staff
       person although it is important to ensure they have sufficient time to focus on these training
       functions.

  21. *Designate an Office Services Coordinator for the IRO.

       An Office Services Coordinator would be responsible for ordering supplies and equipment
       for the IRO staff and ensuring the equipment is serviced appropriately. These functions can
       be performed by a support staff/administrative assistant-type position and could be
       combined with other administrative-type duties. The Office Services Coordinator could
       also be responsible for managing and archiving the older (non-active) files for the IRO.

  22. Hire an attorney for DOC’s Office of General Counsel who can focus on IRO matters.

       DOC’s Office of General Counsel currently has two attorneys, including the General
       Counsel. Having an additional attorney to assist the General Counsel with the additional
       time needed to focus on providing legal advice and legal sufficiency review of policies,
       training, and litigation related to sentence computation/release matters would enhance the
       operation of the IRO and mitigate risk for the DOC. The attorney should work under the
       direction and supervision of the General Counsel.

  23. *Pilot adding a third shift to the DOC’s Inmate Records Office.
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           While DC does not release inmates 24 hours a day, having a skeletal staff on the overnight
           shift could provide more coverage for staff to prepare for the releases scheduled for the
           next day. These staff could review the paperwork and conduct the necessary checks for the
           releases. This recommendation can be accomplished utilizing the existing staff in the IRO.
           This practice was reported at all local jails visited and appears to be best practice.

     24. *Consider assigning staff to teams to perform specific functions.

           Designate staff to certain functions, such as sentence computations, jail credits, and
           releases. This would allow staff to become proficient in a specialized area and would allow
           them to focus on particular types of tasks on a daily basis. Staff could rotate on quarterly or
           some other regular basis and eventually, rotate through all the various teams. This practice
           was observed at other jails and reportedly is efficient and preferred. Staff at DC DOC
           reported this system was used in the past and expressed a desire to return to this structure.

     25. Increase the number of staff with a Commercial Driver’s License in the Inmate Court
          Transportation Unit 5

           DOC should have more than one staff member per shift with a Commercial Driver’s License
           to ensure the efficient transport of prisoners back and forth between the courts and DC DOC
           facilities. DOC could ascertain whether there are any DOC staff who have a Commercial
           Driver’s License who would be interested in, and qualified to, work in the CTU. In addition,
           DOC could ascertain current staff who already maintain CDL licensure or DOC could
           facilitate and pay for existing CTU staff to receive their CDL.

IRO Culture

     26. Provide IRO staff with additional workplace comforts.

           The layout of the office does not currently provide a space for staff to gather. A room
           previously used as a break room for staff to store and eat lunch has been converted into an
           office. This space could be repurposed as a break room, or another location identified, with
           a refrigerator, microwave, and small table and chairs. DOC can add a bulletin board in the
           break room for staff to communicate in a positive nature.

           DOC should provide each staff member in the IRO with a work phone line. Staff may use the
           option to mute the phone ringer and have it flash instead, which will minimize distractions
           from ringing. IRO staff are currently prohibited from having a mobile or work phone at their
           work stations, which restricts them from work and personal obligations or being notified of
           emergencies in an immediate fashion. DOC should allow staff to choose either a one-hour
           lunch break or a half-hour with two 15-minute breaks and stagger staff lunches so that
           enough are on the floor working as needed. DOC should allow staff to eat and drink at their
           desks. With cubicles, staff would have room to do so away from paperwork and computers.

     27. Improve morale in the IRO.

           When asked what the best part was of working in the IRO, almost all staff interviewed said
           that they enjoyed the work they did, enjoyed their co-workers, and felt the work was
           challenging and interesting. There were, however, concerns reported regarding poor staff
           morale, disrespectful communication, the appearance of favoritism, and an overall

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    See page 10 for additional information related to the Inmate Court Transportation Unit.
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        environment where staff do not feel valued and believe only mistakes are acknowledged by
        leadership. These conditions may contribute to the regular occurrence of staff shortages on
        shifts, with several on administrative or sick leave, out on FMLA (Family Medical Leave Act),
        or on vacation.

        DC DOC and IRO leadership need to make clear that the DOC and the IRO expects all staff to
        be treated with respect, in alignment with previous DOC initiatives regarding a respectful
        workplace.

   28. Re-brand the office and elevate the reputation of the IRO.

        Refresh the culture of the IRO and its staff with a professional and outcome-oriented
        atmosphere that elicits more employee pride and respect from fellow staff and external
        stakeholders. Ensure the message is received that the work of the IRO is mission critical to
        the DC DOC.

        While “Legal Instrument Examiner (LIE)” is used in other government agencies, the DC DOC
        should consider changing the title to something that more accurately depicts the type of
        work that the records office staff conducts, such as “Time Computation Officer” and
        “Releasing Officer.”

        Once the IRO has implemented culture changes efforts, leadership should conduct outreach
        with IRO staff through surveys, focus groups, or individual check-in meetings to review how
        the office is functioning and if changes are making a positive impact or should be modified.

   29. *Evaluate and consider providing the IRO staff with uniforms.

        A formal uniform makes staff appear to be part of a professional cohesive team, promotes
        camaraderie and ownership, and provides a sense of respect to the profession or title.
        Uniforms should include the DC DOC logo embroidered and staff names. This practice was
        observed at all local jails visited and appears to be common practice.

Technical Resource Manual (TRM)

TRMs are typically policy-related publications that supplement directives by providing
instructional, descriptive, or explanatory material. The authors of the manual should be
commended for their hard work and the thought and detail that went into developing this TRM.

Overall, the TRM was found to be well structured, easy to follow, and in general, a very
comprehensive overview of the functions conducted by a records office. This TRM, when used
properly, will greatly assist staff in the IRO to better understand their daily tasks and duties, while
at the same time, providing them with a much-needed quick reference document.

   30. Review and finalize the Technical Resource Manual.

        The TRM is currently in draft form. Whichever process DC DOC uses for formalizing
        resources such as this should be expedited so that training modules can be created, and
        staff can be assured that processes and practices are confirmed. When finalizing the manual,
        consider adding an index with sections or chapters that are tabbed for ease of reference.

   31. Create and include a glossary of terms.



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       Although there were a few areas that defined the terminology used throughout the
       document, it is recommended that a glossary of all the terminology be added to the back of
       the document as a quick reference guide for those unfamiliar with the terminology.

  32. Clearly mark and list directives that are referenced.

       There are a few sections of the draft document that referenced the directives used to create
       the document, e.g., policy, law, statute, and code, etc. It is recommended that any section of
       the document derived from one of these directives be annotated as such and, if feasible,
       create links in the document to the actual directive.

       Furthermore, a comprehensive list of all of the directives used should be listed in the front
       of the TRM. This will allow staff to have a better understanding of where the direction is
       derived from and allow them easy access to review these directives.

  33. Use the TRM as a resource for developing additional processes and training.

       The “Performance Standards” sections defined throughout the TRM were found to be clear
       and concise. In the future, if the DOC determines that developing and implementing an
       internal or external review process is in their best interest, it could easily use this portion of
       the TRM to create the standards.

       Insert a “Training” portion underneath each of the position descriptions that lists both
       mandatory and recommended training requirements for each position and ensure that each
       has a time frame in which the training must be completed. Again, if the DOC determines that
       developing and implementing a more structured and documented training program is in
       their best interest, they could easily use the majority of this TRM to create lesson plans.

DC DOC and IRO Stakeholder Recommendations

  34. Establish a more structured and unified reporting process for untimely releases that
      provides an increased level of transparency to DOC stakeholders.

       While DOC appears to be actively tracking and documenting instances related to the
       untimely or erroneous release of inmates in their custody through the use of various
       reports, it is recommended the following procedures be implemented to assist in
       accomplishing this task.
           a. An untimely and erroneous release form be created. At a minimum, this form would
               contain standard information, such as inmate name, DCDC number, date of birth,
               photograph, court identifier (District or Superior), type of erroneous release (early,
               late, erroneous), statutory release date, actual release date, a detailed explanation as
               to what occurred, action taken as a result of the incident, e.g. training, new
               procedures, disciplinary action, etc., and a routing section with signature blocks.
           b. Develop standardized memorandums to ensure prompt notification to the
               appropriate stakeholders, e.g., USMS, Courts, etc., in the instance of an untimely or
               erroneous release.
           c. Develop one standardized quarterly and annual report that synopsize and track all
               untimely and erroneous releases and has the ability to separate District Court cases
               from Superior Court case.
           d. Develop written standard operating procedures, or policy for erroneous and
               untimely releases.


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           e. Provide comprehensive untimely and erroneous release training to staff that
              directly relates to their individual roles in the process, and document the training
              provided.

U.S. Marshals Service

  35. Develop a Memorandum of Understanding (MOU) with the U.S. Marshals Service.

       The DOC and USMS staff have been meeting monthly to work collaboratively on issues of
       mutual concern. These meetings appear to be beneficial and numerous items have been
       worked out regarding the paperwork flow process in District Court. Having a written
       document setting forth mutually agreed-upon procedures for the processing and handling
       of prisoners who are in the legal custody of the USMS and physical custody of the DOC
       would be beneficial. The parties may also consider extending the agreement to cover all
       USMS prisoner operations within the District of Columbia, including those involving the
       District of Columbia Superior Court.

U.S. District Court U.S. Marshals Service

  36. Ensure the USMS-DC provides a specific explanation in the remand documents and
      uniform language for each explanation.
       Collaborate with the USMS-DC to communicate the importance of this information and
       include the required provision of this information on remand forms in the MOU (or IGA).
       IRO staff interviewed expressed concerns that the USMS-DC does not always provide
       accurate descriptions or explanations in the remands documents, causing unnecessary
       delays and misguidance to the IRO staff in the process of completing intake or releasing
       inmates.

  37. Standardize the                                 directing DC DOC to release a USMS-DC
      inmate.

       Currently, USMS staff                   IRO staff directing them to release specific inmates.



  38. *Release eligible USMS- DC District inmates directly from the court house.

       Once DC DOC staff transport inmates to USDC for court proceedings, physical custody of the
       inmate is transferred to the USMS. If the inmate receives a time served order, or other type
       of order making the inmate eligible for immediate release, the USMS should maintain
       custody and release directly from the court house and conduct the appropriate checks to
       ensure there were no detainers or warrants for the inmate. On rare occasions, USMS-DC
       does directly release inmates from the court house. For example, defendants brought in on
       new arrest charges who are not remanded to USMS custody are released directly from the
       court house. Occasionally, a judge orders an immediate release from the court house.

       Many years ago, the USMS-DC released a larger volume of inmates directly from the court
       house. The USMS would have complete control over the inmate thereby removing any
       confusion or conflict with DC DOC regarding the appropriate course of action with the
       inmate. Procedures could be established, similar to those used in D.C. Superior Court, for
       DOC staff to retrieve a releasing inmate’s property and medication, if any, and bring it to the
       court house to be issued prior to release. Many jurisdictions have a process for inmates to

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       be released directly from the court house. This practice leads to an efficient use of
       resources.

  39. Ensure any action that affects the custody status of USMS-DC prisoners are
      coordinated with, and authorized by, an authorized representative of the USMS-DC.

       Promptly notify authorized representatives of USMS-DC of receipt by the DOC of any court
       orders, come ups, orders to produce, writs, ASRs, detainers and other process or
       instructions that affect the custody status of USMS-DC prisoners that are received by the
       DOC from sources other than authorized representatives of USMS-DC.

       Establish a notification protocol, which could be included in the MOU (or IGA), for matters
       affecting the custody status of USMS-DC inmates that occur after business hours.




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 Appendix A: DC DOC Document Request List
  1.     Any and all written guidance for staff via memo, policy, or SOP regarding inmate release
  2.     Erroneous/ Delayed Release Policy
  3.     Erroneous/Delayed Release Notification Plan
  4.     Sentence Computation Policy and Procedure
  5.     Technical Resource Manual for Inmate Records Office
  6.     Prison Transfer Request Policy and Procedure
  7.     Release procedures
  8.     Transportation Policy
  9.     Quality assurance protocols
  10.    Staffing deployment plans
  11.    Staffing workload
  12.    Workflow management tools
  13.    Productivity management tools
  14.    Superior Court Administrative Order 07-08
  15.    Any other relevant Superior Court Administrative Orders
  16.    MOUs or contracts with the USMS, FBOP and Parole Commission
  17.    DOC Release Discrepancy Reports for the past 36 months
  18.    Any related reports or memos from the past 36 months related to erroneous/delayed
         releases, records management, sentence computation, court transfers and release
         procedures.
  19.    All erroneous/delayed release case information for the past 36 months
  20.    Overall statistics for intakes and releases over the past 36 months
  21.    List of lawsuits filed as a result of erroneous/delayed releases for the past 36 months




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Appendix B: TMG Team Biographies
Anadora “Andie” Moss, TMG President, Project Advisor
Andie Moss is founder and president of The Moss Group, Inc., a Washington, DC-based criminal
justice consulting firm. The Moss Group works throughout the country and is engaged in assisting
public safety organizations in solving complex problems. She was a pioneer in the work of
assessing and addressing organizational and facility culture, sexual violence in confinement
settings, and safety assessments of correctional facilities. She also served as a subject matter expert
to the National Prison Rape Elimination Commission and the PREA Review Panel. Ms. Moss was
appointed by the White House to a two-year term on the education subcommittee of an Advisory
Committee on Family Residential Centers administered by the secretary of Homeland Security.

Ms. Moss is published in professional periodicals, has held several leadership roles in professional
organizations, and has received numerous honors for her work. Ms. Moss received her Bachelor of
Science degree from the University of Georgia and her Master’s in Education from the University of
Idaho. She is a recipient of the Susan M. Hunter lifetime award of achievement.

Kathleen “Kathy” Kenney, Project Director
Kathleen M. Kenney has been a consultant with The Moss Group since 2017. Ms. Kenney joined the
Federal Bureau of Prisons’ Office of General Counsel (OGC) in 1992 as an honors attorney in the
Legislative and Correctional Issues (LCI) Branch. She served as attorney advisor at the Federal
Correctional Institution (FCI) in Talladega, AL, from July 1993-1996. She received the Assistant
Director's Award for Exceptional Performance by an Attorney and the Director's Award for her
assistance and work on prosecutions of inmates involved in the 1995 disturbance at FCI Talladega.

Ms. Kenney returned to OGC as an assistant general counsel in LCI in 1996. She also worked
in the labor law branch prior to being promoted to associate general counsel for LCI in September
1999. Ms. Kenney was subsequently appointed deputy general counsel in March 2000, and in that
capacity, was responsible for oversight of the litigation branch, legislative and correctional issues
branch, labor law branch, and the six regional councils. She was appointed as an assistant
director/general counsel in June 2004 and served in that role until her retirement in May 2017. Ms.
Kenney received her bachelor's degree in Political Science from the Catholic University of America
in 1988 and her Juris Doctor from the University of Notre Dame in 1992.

Eric Wohltjen, TMG Consultant
Eric Wohltjen has been a consultant with The Moss Group since 2018. Mr. Wohltjen joined the
Federal Bureau of Prisons in 1989 as a correctional officer and moved through the ranks as a legal
instruments examiner, inmate systems manager, assistant prisoner transportation coordinator,
chief of transportation and operations, and chief of training, policy, and correspondence. Through
these positions, he was responsible for overseeing the contract and maintenance of the agencies
ground transportation tracking system, which included 105 busses distributed nationally and
was directly involved with the design, implementation, and activation of the Designation and
Sentence Computation Center.

Since 2014, he has worked as a contractor with the United States Marshals Service in the Prisoner
Operations Division where he provides consultation for management, organizational, and business
improvement efforts. Mr. Wohltjen served as a corporal with the United States Marine Corps
Military Police from 1984 – 1988 and as a sergeant from 1998 to 2002 with the U.S. Army National
Guard.


Robert “Bob” Helwig, TMG Consultant
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Robert P. Helwig has been a consultant with The Moss Group since 2018. Mr. Helwig joined the
United States Marshals Service (USMS) in 1988 as a deputy U.S. Marshal. He served as the chief
inspector and senior inspector with the USMS Investigative Services Division where he managed
the 15 Most Wanted Fugitives, Major Case, Confidential Informant, Organized Crime Drug
Enforcement Task Force, Sensitive Operations, and Undercover Operations Programs. From 2003 –
2006, he served as the assistant director for Fugitive Investigative Support with the International
Criminal Police Organization (INTERPOL). In 2007, Mr. Helwig returned to USMS as the chief for the
Office of Emergency Management and Security Programs Manager

In 2009, he joined the Department of Homeland Security as the assistant director of the U.S.
Immigration and Customs Enforcement, where he directed a series of sensitive and complex
security, risk management, law enforcement, and administrative programs. Mr. Helwig received his
bachelor’s degree in Civil Engineering from the University of Delaware in 1988 and his juris doctor
from Seton Hall University in 1993.

Jose A. Santana
Mr. Santana has over 29 years of experience in the correctional field. He began his correctional
career in the Puerto Rico Department of Corrections (PRDOC) as a Discipline Hearing Officer. He
was also the Acting Director of the Rules and Regulations Division (PRDOC) from January 1989
until June 1991.

He began his Federal Bureau of Prisons (BOP) career as a Legal Technician activating MDC
Guaynabo, Puerto Rico. He worked in positions of increasing responsibilities as a Case Manager
at MDC Guaynabo, Puerto Rico and FCI Tallahassee, Florida; Case Management Coordinator at
MDC Guaynabo; Unit Manager at FCC Beaumont, Texas; South Central Regional Designations
Administrator, Dallas, Texas; South Central Correctional Programs Administrator, Dallas Texas.
In November 2007, was selected as Associate Warden at MDC Guaynabo, Puerto Rico, where
he remained until May 2010. Lastly, in May 2010, he was promoted to the Bureau’s Chief of
the Designation and Sentence Computation Center in Grand Prairie, Texas. He recently retired
from the Bureau in December 2017.

Katy Cummings, TMG Project Manager
Katy Cummings joined The Moss Group (TMG) in January 2014 as a project manager for both adult
and juvenile correctional agencies. In this role, Ms. Cummings manages, facilitates, and
coordinates the work of project teams to ensure the successful completion and delivery of all
assigned projects. She is responsible for planning, monitoring, and execution of all project phases,
and for ensuring that the requirements of all client project deliverables are met. She has
managed numerous federal, state, and local contracts that include training and technical assistance,
cultural and operational assessments, strategic planning, and curricula and program
development.

Prior to joining TMG, Ms. Cummings worked with the National Crime Prevention Council on a
variety of projects including national crime prevention campaigns, research and publication
development, training and technical assistance, and community outreach. She has also worked in
mental health facilities with at-risk youth as well as out-patient adults with cognitive and
psychological disorders. She earned a Bachelor of Arts in Psychology from West Virginia University
and a Master’s in Community Psychology with emphasis in Forensics from the University of New
Haven. She currently resides in Washington, DC.




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